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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION


   UNITED STATES OF AMERICA;

           Plaintiff,

   v.
                                                            Case No: 1:21-cv-60825-RUIZ/Strauss
   ROGER J. STONE, et al.,

           Defendants.


                        STONE DEFENDANTS’ MOTION TO EXTEND THE STAY

         On June 17, 2021, the Court granted an unopposed motion filed by Defendants Roger

  Stone, Nydia Stone, Bertran Family Revocable Trust, and Drake Ventures LLC (“the Stone

  Defendants”) to stay this case for ninety days. As the Stone Defendants stated in their motion,

  Nydia Stone was recently diagnosed with an aggressive form of Stage IV cancer and had recently

  started a course of treatment.

         Ms. Stone is continuing treatments with the final medical treatment being scheduled for

  mid-September. The effects of the medical treatments are debilitating and impair her ability to

  complete day-to-day tasks, let alone participate in the defense of this case. Moreover, the effects

  of Ms. Stone’s last medical treatment, as well as the cumulative effects of her entire course of

  treatment, may take several weeks to reasonably subside before she can start to participate in this

  defense of this case.

         Because Ms. Stone was principally involved in the business’ and family’s finances, her

  ability to participate in the defense of this case is important to all the Stone Defendants. Counsel

  for the Stone Defendants would need to communicate with Ms. Stone in even basic tasks such as



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  setting a case schedule, which would necessarily involve discussion of discovery issues and

  timelines involving Ms. Stone, and other tasks such as preparing and filing an answer.

         Ms. Stone has diagnostic tests scheduled for mid-October, and she expects to learn in the

  weeks following more information about her intermediate prognosis and whether more treatment

  will be necessary. The Stone Defendants recognize that this case cannot be stayed indefinitely,

  and at some point if more treatment is necessary or her prognosis remains uncertain, the Stone

  Defendants will have to move forward as best they can to defend this case even if Ms. Stone cannot

  fully participate in the defense.

         The Stone Defendants believe a good demarcation point is October 31, 2021. This will

  give Ms. Stone time to finish her course of medical treatment and for the effects of her medical

  treatment to subside to some extent where she might then be able to participate in the case. It will

  also allow her time to undergo the additional diagnostic testing set for mid-October and receive

  the results, at which point Ms. Stone and the other Stone Defendants will have a better

  understanding of what level of participation she might be anticipated to have in the case going

  forward.

         This knowledge will also assist counsel for the Stone Defendants in cooperating with the

  government to create a case schedule, discuss various discovery issues, and ultimately to move

  forward with the litigation. The anticipated path forward likely differs depending on whether the

  Stone Defendant’s might anticipate her participation in the defense or whether her continuing

  health issues make her involvement less likely. Thus, it would benefit all parties to have this

  information as they discuss a schedule and potential discovery issues.

         The Stone Defendants do not believe that an additional stay of approximately six weeks,

  through October 29, 2021, would prejudice the government in any meaningfully way. However,



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  resuming the case, discussing a case schedule and discovery issues, and preparing and filing an

  answer without Ms. Stone’s participation would have a much more significant impact on the Stone

  Defendants and their ability to defend the case.

         Therefore, the Stone Defendants ask that the Court extend the stay until October 31, 2021,

  at which point the Court should direct that the case automatically reopen unless a further motion

  to continue the stay is filed. However, at this time and based on currently available information,

  the Stone Defendants do not anticipate filing a further motion to extend the stay regardless of the

  results of Ms. Stone’s further diagnostic testing in mid-October.

                 WHEREFORE, the Stone Defendants request that:

         A.      The Court enter an order extending the stay in this case, including the parties’ Rule

  26(f) conference and Defendants’ obligations to respond to the Complaint, through and including

  October 31, 2021.



                           Local Rule 7.1(a)(3) Conference Certification

         Counsel for the Stone Defendants have conferred with counsel for the Government and the

  remaining defendants. Counsel for the Government and Broward County do not oppose the relief

  sought herein. Counsel for Galleria Lofts Condominium Association, Inc. did not respond to

  counsel’s inquiry.




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  Dated: September 13, 2021                          Respectfully submitted,

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  & PINEIRO LLP
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  Counsel for Stone Defendants


                                 CERTIFICATE OF SERVICE

         I certify that on September 13, 2021, I filed the foregoing document through the Court’s

  CM/ECF system which has caused service to be made upon all counsel of record in this case.

                                                                   /s/ JEFFREY A. NEIMAN




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